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Page|D 1
AO 242 (12/l l) Petitioo for a Wn`t of Habeas Corpus Under 28 U.S.C. § 2241
UNITED STATES DISTRICT COURT
for the
~ § 33
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Tmnaof'/N 1¥1¢)5)1¢. MoEA»/hzt@ ) ""*Ezi¢ § 0
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31 N€¢¢~$$¢-r'f Petitioner ) j_; ',_) <
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V` ) Case No. ‘ “; 0
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Tirlw~ (`wrv|-y TN Sk¢n# 3»"'- "p¢~¢-\~'"Cl'\ml¢y )
Jv¢\¢J\es JMFL A.w,ut,r +w,u.m A . B¢¢/¢; §
Respondent

(name of warden or authorized person having custody of petitioner)

PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

Personal Information

1~ (a) Y°“Ifullname: N:clm!l Wa\’/n¢ p¢\r'Sonf
(b) Other names you have used: Mlk c Ea§ pa 5

Place of confinement
(a) Name of institution:

77P7v/q CgpNT§/ ('QIZFEch/VAL FA(lLlTY
(b) Address:

1501 5_0€/1# CQLLESE jTREET' SulTE log

tom/nom 'rN 35019
(c) Your identification number: N/A

Are you currently being held on orders by:
DFederal authorities § State authorities CI Other - explain:

Are you currently:

¢A pretrial detainee (waiting for trial on criminal charges) l HAVE gm penn/59 W|THo|/'r £AU$E ‘ $TARVED

13 Serving a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime AN° n RTuRS° -
If you are currently serving a sentence, provide:

(a) Name and location of court that sentenced your

 

(b) Docket number of criminal case:
(c) Date of sentencing:

 

ClBeing held on an immigration charge
§{Other (explain)= lgyg m E;avER/tm) oF Au. 2009 cow/mow m lawn 145
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wasn cuARcE 39-11»¢‘507(1>)(»)0\).

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AO 242 (12/11) Petition for a Writ ofHabeas Corpus Under 28 U.S.C. § 2241

 

 

 

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Decision or Action You Are Challenging

What are you challenging in this petition:

DHow your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
revocation or calculation of good time credits)

phetrial detention nva so mm PMSELW’ED W”"°‘"' FA"‘E ; SYAZVED Auo 'anszD

CI Immigration detention

\J Detainer

$The validity of your conviction or sentence as imposed (for example, sentence beyond the statutory

maximum or improperly calculated under the sentencing guidelines) EXI?N 0NEl?-ATED FF UNDEZLYIN b

N ConcTWN
DDisciplinary proceedings WR° 5F“L
power(exp'“""): c" N‘~'N 1' oNT) a a cu s ~ f¢E r
INvALm SuM oF MoNEV 551 Fo/Z imp m 355;000» mims w,TH

_»¢mt<l:E_lzllaLz;z.E-rl TRACM)N£ Dr.v 155 .

Provide more information about the decision or action you are challenging: IlE CENT DEL l 5 l0N -'
(a) Name and location of the agency or court: 77 pra/v (puNr\( §§NERAL 5555, oN 5 pp yg'r

(b)(Docket number) case number, or opinion number: QZQQ [MAg(l-l Z Zol$ 5

(C) DeCiSiOIl OI` action yOll are Chall€nging (for disciplinary proceedings, specijl the penalties imposed)!

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No-rH/Né W)zoN& wH)\_€ SPEALUNE» - Ii\) ~rHE €EMERAL 5€55101\)5 (gu)zT,

 

 

 

 

 

(d) Date of the decision or action: _)AN uA RY ll Zo) 5

Your Earlier Challenges of the Decision or Action

First appeal
Did you appeal the decision, file a grievance, or seek an administrative remedy?
¢Yes Cl No
(a) If “Yes,” provide:
(l) Name of the authority, agency, or court: `T`ENNE§$E'E fosz pp cR[Ml/\/AL A,P]Q L§

 

(2) Date of filing: 5gp-1'EMBEZ_ 7 2011

(3) Docket number, case number, or opinion'number: W‘Law _92,07§ .. C¢A _ ¢7. 3 _ ¢D

(4) Result: Dle| 1 j 5Ep

(5) Date of result: UELEM 5e1 I{ Za||

(6) Issues raised: l) Tyg 1711'.[_ [o,/pr \,;/p,,vgq/u_\( pgp,z¢vgp M£ 1b THE )ZlMT aF Cwu$&],
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APPL¥ MmsAmM F'Acroks wasn lmP»s/Na sENrBth-:-.

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Ao 242 (12/11) ramon for a writ ofHabm corpus Under 23 U.s.c. § 2241

 

 

 

(b) If you answered “No,” explain why you did not appeal:

 

 

 

8. Second appeal
Aiter the first appeal, did you file a second appeal to a higher authority, agency, or court?
NYes DNo

(a) If“Yes,” provide:
(l) Name of the authority, agency, or court1 fENA/ESSEE $yP,?E/WE fay [11'

 

(2) Date of filing: F;gm/A(‘y 23, log 7_,

(3) Docket number, case number, or opinion number: wzwp ..o 2073 .. ch. ~|| - C o
(4) Result: DEN/ED - IZEFusED 1b HEAR

(5) Date of result: MAY 2 z zolz_

(6) Issues raised: SA_ME /.\5 '7 (o.) (6)

 

 

 

 

 

 

(b) If you answered “No,” explain why you did not file a second appeal:

 

 

 

9. Third appeal
After the second appeal, did you file a third appeal to a higher authority, agency, or court?
¢¢Yes CINo

(a) If “Yes,” provide:
(l) Name of the authority, agency, or court: (/_j.(_,T_ - L/NIMSA_L SyP/?EME Couk]' 0F
me 'rzu,HQo~r'/N - /NTERNAT/oN/}L ABoRaé/NAL (`ouIZT

(2) Date ofming; DE¢€M BEn Z, Z@/E

(3) Docket number, case number, or opinion number: y .. /5” »6030

(4) Res“ltf t;onmA'reo w= ALL vupea Lvmé CHARGES

(5) Date ofresult: JANVAP.Y 13 2016

(6) ISSueS raisedf mAszTlEs oFl Jusrlc£ l ATTEMPTED MIJR D£IZ op ME ANb
MY wlFE IZESuLTl/u£ IN MY Aleo/\I§ oF` SEPTFMBER 2006 /45
361~6 mar oF' SFLF » DEFEN;E o~LY,

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AO 242 (12/11) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

 

 

 

 

(b) If you answered “No,” explain why you did not file a third appeal:

 

 

 

 

10. Motion under 28 U.S.C. § 2255

In this petition, are you challenging the validity of your conviction or sentence as imposed?

gYes CINo

If “Yes,” answer the following:

(a) Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
D Yes la No
If “Yes,” provide:
(l) Name of court2
(2) Case number:
(3) Date of filing:
(4) Result:
(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

 

 

(b) Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
sentence?

CI Yes d No

lf “Yes,” provide:
(l) Name of court:
(2) Case number:
(3) Date of filing:
(4) Result:
(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

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(c) Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
conviction °r Senten°°¢ / /'/A VE /VoT BEEN CbAl \//( TED 3 Y A/@/Z 551?\///1/6
A SENrEA/(E uNoEu. A J uz)GEM E/vr AcA/Nsr M£ /A/ FEDE/ZAL
Co ul? 7'.

 

 

 

 

 

 

l 1. Appeals of immigration proceedings
Does this case concern immigration proceedings?
|:IYes CINo
If “Yes,” provide:
(a) Date you were taken into immigration custody:

 

(b) Date of the removal or reinstatement order:

 

(c) Did you file an appeal with the Board of Immigration Appeals?
Cl Yes Cl No
If “Yes,” provide:
(l) Date of filing:

(2) Case number: ,

(3) Result: /\ / /
(4) Date of result: j y /
/

(5) Issues raised:

 

 

 

 

 

 

 

(d) Did you appeal the decision to the United States Court of Appeals?
CI Yes Cl No
If “Yes,” provide:
(l) Name of court:
(2) Date of filing:
(3) Case number:

 

 

 

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AO 242 (12/11) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

(4) Result:
(5) Date of result:
(6) Issues raised:

 

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12. Other appeals
Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
raised in this petition?
Yes CINo
lf “Yes,” provide:
(a) Kind o@, motion, or application:
(b) Name of the authority, agency, or court: M 5 c z .. ya l/VE£;AL_ g 50},2£“5 Coa¢ 7'
0F 77/E TSILHGoT'lN
(C) Date Offllingf DE(EMBEIZ Z ' 20/6
(d) Docket number, case number, or opinion number: y .. /6 , 32 §§
(e) Result: on/nAL or am 265 37 -/7-/307 5/;:
(f) Date of result: FEgl?JJA£Y 29 l 20/6
(g) ISSU¢S raiS¢df ’) T'ENNES$EE (0”/?7’5 /N 77770)\) (Ot/NT\{ A/AVE /\I0 Jl/lZ/SD/CWCN
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Grounds for Your Challenge in This Petition

13. State every ground (reason) that supports your claim that you are being held in violation of 6c Constitution,)
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the

facts supporting each ground.

GROUND ONE: VwLA-no/\/ aF 6"" AMMENDME)\/T' IZ/éAT n) A Trl/AL A-ND
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AO 242 (12/11) Petitioo for l Writ ofHabeas Corpus Under 28 U.S.C. § 2241

(a) Suppcrting facts (Be brief Do not cite cases or law )‘

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BF_v mass ?ARzavs sksEp ou ~me news oF we PRoc€s)’ R\€HT$‘ib CGvN$€L lNA
(b) Did you present Ground One m all appeals that were available to you? MRTTER W|'\ERE` IN¢ARL£R'AT' on

gyes DNO 16 AT l<,uEu\"
GROUNDTWO mtaw_omw£‘nnne~am;~r swan moses m AR&E<>T

 

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(a) Supporting facts (Be brief Do not cite cases or law )'

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sur mar Nor mar aF 1112 mm 1311 sra-rmi 'M_R PAM"$fP-va¢_¢\
(b) Did you present Ground Two in all appeals that were available to you? N£léRBoD. IN ntt' Fh¢£ AN° HI\D

Y DN A¢Tvkwt G¢MKE`N 1-\15 Nos&."
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GROUND THREE¢ vmtA'noM q; F"" AMMENFMENT RMHT 'ra ovE. PRo¢E€s BASED 010
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(a) Sllpporting facts (Be brief Do not cite cases or law )

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v..s c.r. onoeRs NAMEL‘( lt mcneil comm miami 565 misseser pB moss 13 al Aup
(b) Did you present Ground Three m all appeals that were available to you? P 9 l-|NE5 l -|‘]

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PA€E)

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AO 242 (12/11) Petition for a Writ ofHabeas Corpus Under 28 U.S.C. § 2241

GROUND FOUR WT'M oF 8"‘ AMMENoMavr' o~ mma 1¢/, 2016 sr cmcwr cover
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(a) Suppol'tmg facts (Be brief Donot cite cases or law ) nm (°”MY (°R REm°NAL FAC""T"( (T “'F)
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(b) Did you present Ground Four in all appeals that were available to you? `|/
DYes ElNo

 

14. If there are any grounds that you did not present in all appeals that were available to you, explain why you did

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Request for Relief

15. State exactly what you want the court to do: /MMEplArE RE'LEA 55 FR 0M (u$ 7'0 OY 0N MY
owN lt Et o 6N1ZAN(E

 

 

 

 

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AO 242 (12/11) Pen'tion for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

M/M/wé

If you are incarcerated, on what date did you place this petition in the prison mail system:

fir/m 2/ )QM

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Date MJLHQJ! ]Q¢L` ~ §§ iu.z§.§.:l:l*_,,a
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Signat e ovey orfbd?thorized person, if any

 

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